Case 1:16-cv-23017-DPG Document 251 Entered on FLSD Docket 04/03/2019 Page 1 of 3



                                 UNITED STATES DISTRICT COURT
                                 SOUTHERN DISTRICT OF FLORIDA

                         CASE NO. 16-CV-23017- GAYLES/OTAZO-REYES

  SOUTHERN ALLIANCE FOR CLEAN ENERGY,
  TROPICAL AUDUBON SOCIETY, INC.,
  and FRIENDS OF THE EVERGLADES, INC.,

          Plaintiffs,

  v.

  FLORIDA POWER & LIGHT COMPANY,

          Defendant.
                                                      /

                                     JOINT MOTION FOR STAY

          Plaintiffs Southern Alliance for Clean Energy, Tropical Audubon Society, and Friends of

  the Everglades, and Defendant Florida Power & Light Company, pursuant to Fed. R. Civ. P.

  16(b)(4) and Local Rule 7.6, respectfully move the Court to stay this case for 120 days to

  facilitate resolution without trial.

          Trial in this Clean Water Act case is scheduled to begin on May 20, 2019.           It is

  anticipated that trial—which will be a bench trial—will take two to three weeks.

          The parties have reached a tentative resolution that will result in the dismissal of this

  litigation. Finalizing such a resolution, however, will require a period of time to allow the

  parties to interact with the appropriate government agencies. The parties believe that 120 days

  should be a sufficient time within which to secure the requisite input and approval to formalize

  the tentative agreement and end this matter.

          Federal courts have the inherent power to stay proceedings at their discretion and where

  appropriate. Landis v. N. Am. Co., 299 U.S. 248, 254 (1936) (“[T]he power to stay proceedings



                                                  1
Case 1:16-cv-23017-DPG Document 251 Entered on FLSD Docket 04/03/2019 Page 2 of 3



  is incidental to the power inherent in every court to control the disposition of the causes on its

  docket with economy of time and effort for itself, for counsel, and for litigants. How this can

  best be done calls for the exercise of judgment ....”); Chrysler Int’l Corp. v. Chemaly, 280 F.3d

  1358, 1360 (11th Cir. 2002) (“At the outset, we stress the broad discretion district courts have in

  managing their cases.”); In re Application of Alves Braga, 789 F. Supp. 2d 1294, 1307 (S.D. Fla.

  2011) (referring to the “well-established” power to stay proceedings announced in Landis).

         A brief stay of 120 days should conserve judicial resources and allow the parties to

  devote their time and resources to finalizing a resolution that will end all of the claims in this

  case. Courts in this district generally find good cause exists to warrant a stay and continuance of

  trial where the parties have reached a tentative or conditional resolution and staying the case will

  “avoid unnecessary litigation among the settling parties.” United States Liab. Co. v. Von Kahle,

  2014 WL 12776374 (S.D. Fla. Mar. 4, 2014); see also Murchison v. Grand Cypress Hotel Corp.,

  13 F.3d 1483, 1486 (11th Cir. 1994) (“We favor and encourage settlements in order to conserve

  judicial resources”).

         This Joint Motion for Stay is made in good faith and not for purposes of delay. The

  parties are in agreement as to the need and length of the stay, and as such the stay would not

  prejudice any of the parties.

         WHEREFORE, the parties respectfully request that the Court stay the case and continue

  the trial for 120 days, through and including August 1, 2019.

         Respectfully submitted this 3rd day of April, 2019.

  /s/ James M. Porter                             /s/ T. Neal McAliley
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                                                   2
Case 1:16-cv-23017-DPG Document 251 Entered on FLSD Docket 04/03/2019 Page 3 of 3



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                                            3
